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                        UNITED STATES DISTRICT COURT
                           DISTRICT OF MINNESOTA
                          Case No. 21-cr-232 (ECT/LIB)

 UNITED STATES OF AMERICA,                  )
                                            )
                      Plaintiff,            )
                                            )
        v.                                  )
                                                       ORDER FOR DETENTION
                                            )
 PAUL JOHN SAYERS,                          )
                                            )
                      Defendant.            )



       Defendant Paul John Sayers is charged by indictment with one count of aggravated

sexual abuse, in violation of 18 U.S.C. §§ 2241(a), 1151, 1153(a). This matter came before

the Court on November 2, 2021, on the Government’s motion for pretrial detention

pursuant to 18 U.S.C. § 3142(f)(1)(A). Defendant consented to appear at the hearing via

videoconference, and he was represented by Daniel Gerdts.          The Government was

represented by Assistant U.S. Attorney Emily Polachek.

       The Government filed a written motion for detention on November 1, 2021, seeking

pretrial detention on the grounds that no condition or combination of conditions could

reasonably assure Defendant’s continued presence before the Court or the reasonable safety

of the community. ECF No. 9. On November 2, 2021, U.S. Probation and Pretrial Services

submitted a bond report that recommended pretrial detention. At the detention hearing,

Defendant advised the Court, though counsel, that he does not contest pretrial detention at

the present time, but reserves the right under 18 U.S.C. § 3142(f) to reopen his detention

hearing if circumstances change.
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      Based on the record before the Court, including Defendant’s present waiver on the

issue of detention, the Court finds that no condition or combination of conditions can

reasonably ensure Defendant’s continued appearance and the safety of the community.

Accordingly, the Government’s motion for pretrial detention is GRANTED.

      IT IS HEREBY ORDERED that:

      1.       The motion of the United States for detention of Defendant is granted,

without prejudice to Defendant’s right to reopen his detention hearing pursuant to 18

U.S.C. § 3142(f).

      2.       Defendant is committed to the custody of the United States Marshals for

confinement in a correctional facility separate, to the extent practicable, from persons

awaiting or serving sentences or being held in custody pending appeal;

      3.       Defendant shall be afforded reasonable opportunity to consult privately with

his lawyer; and

      4.       Upon order of the Court or request by the United States Attorney, the person

in charge of the correctional facility in which Defendant is confined shall deliver him to

the United States Marshal for the purpose of appearance in connection with all court

proceedings.

 Dated: November 8, 2021                         s/Leo I. Brisbois
                                                 HON. LEO I. BRISBOIS
                                                 United States Magistrate Judge




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